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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) QUILL INK BOOKS LIMITED, a
foreign corporation,

       Plaintiff,


v.
                                                         Case No.: CIV-18-920-G
(1) ABCD GRAPHICS AND DESIGN,
INC., D/B/A BLUSHING BOOKS
PUBLISHING, a foreign corporation,                     JURY TRIAL DEMANDED
(2) RACHELLE SOTO a/k/a ADDISON
CAIN, an individual, and
(3) JOHN and JANE DOE, unknown
individuals and online participants,

       Defendants.

                                AMENDED COMPLAINT

       Plaintiff, Quill Ink Books Limited (“Quill”), for its Amended Complaint filed

pursuant to this Court’s Order of October 11, 2018 [Doc. No. 5], alleges as follows:

                                  NATURE OF ACTION

       1.     Plaintiff brings this action against Defendants, ABCD Graphics and Design,

Inc., (“ABCD”) d/b/a Blushing Books Publishing (“Blushing”), Rachelle Soto a/k/a

Addison Cain (“Cain”), and John and Jane Does (“Does”), seeking injunctive relief for

malicious interference with contract and for copyright misuse; and for damages for

misrepresentation of copyright claims under the Digital Millennium Copyright Act,

tortious interference with prospective and existing business relationships, defamation, false

light, negligence, civil conspiracy; and for declaratory relief.
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                                   BACKGROUND

      2.     The literary world, especially within the romance genre and its sub-genres,

has experienced anti-competitive behavior by certain bad actors attempting to monopolize

the industry through misuse of trademark and copyright law. Ranging from misuse of

“take-down” notices to litigation over the use of a common word in a book title,1 unlawful

practices are becoming more and more prevalent.

      3.     This case is about protecting Plaintiff’s publications from Defendant

Blushing and Cain’s deliberate misuse of copyright law to inflict harm to Plaintiff’s

reputation and economic interests. Blushing and Cain’s efforts to destroy Plaintiff’s

publications include the publication of false claims of plagiarism against those works in

online reader communities and the encouragement, solicitation, and coordination of

negative reviews and comments anywhere those works are published. Incredibly, one of

those books that Blushing and Cain attacked was not even in publication at the time their

“take-down” notice. Blushing and Cain’s misconduct, including their “surround and

strangle” tactic, is unlawful and should be enjoined. Further, Plaintiff should be awarded

all damages resulting from Blushing and Cain’s deceitful and malicious conduct.




      1
             In Hop Hop Productions, Inc., et al., v. Kevin Kneupper, et al., 18 CV 4670
(S.D. N.Y. 2018), Plaintiff, Faleena Hopkins, applied for a trademark for the use of the
word “cocky” in romance titles and sued other authors who refused to retitle their works.
Hopkins’s attempt to block the sale of those books by other romance writers ultimately
failed.
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       4.      Additionally, public policy mandates judgment against Blushing and Cain

for their unlawful conduct to prevent future misuse of copyright law to defame and stifle

the works of others.

                              JURISDICTION AND VENUE

       5.      This court has subject matter jurisdiction over the federal claims pursuant to

the Copyright Act (17 U.S.C. §§ 101 et seq.), 28 U.S.C. §§ 1331 and 1338 and the

Declaratory Judgment Act (28 U.S.C. § 1367(a)) in that the state law claims form part of

the same case or controversy as the federal claims.

       6.      Upon information and belief, Defendants, and each of them, have sufficient

contacts with this judicial district generally and, in particular, with the events herein

alleged, that each such Defendant is subject to the exercise of jurisdiction of this court over

the person and such Defendant.

       7.      Upon information and belief, based on the national reach of Defendants, and

each of them, a substantial part of the events giving rise to the claims herein alleged

occurred in this judicial district.

                                         PARTIES

       8.      Quill is a foreign, international corporation organized and existing under the

laws of England with its principal place of business in London, England. Quill publishes

works in print and electronic form. Quill’s publications are sold internationally through

Amazon and other online vendors, including Barnes and Noble, Apple iTunes, Rakuten-

Kobo, Google Play, and Draft2Digital, a distributor whose principal address is in

Oklahoma City, Oklahoma.

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       9.      The name “Zoey Ellis” is a pseudonym used by Plaintiff in the publication

of certain books it publishes. This litigation involves a fictional romance series, published

by Plaintiff, that is set against the backdrop of paranormal and epic fantasy drawing

influences from an alternative universe (“AU”) known as “omegaverse.”

       10.     Blushing publishes works by various authors primarily in the romance, dark

romance and domestic discipline genre. Blushing is a fictitious name for ABCD. Under

Virginia law, an entity doing business using a fictious name must file a certificate with the

corporation commission. No certificate appears on the records of the commission. Blushing

represents itself as being a registered trademark of Defendant ABCD [See Blushing

Information, Ex. 1], according to application number 85897591. ABCD’s application was

dismissed by the Trademark Office in early 2014 [See Trademark Dismissal, Ex. 2].

However, ABCD is a corporation organized under the State of Virginia with its principal

place of business in Charlottesville, Virginia.

       11.     Cain is an author residing in Stafford, Virginia. “Addison Cain” is a

pseudonym used in the publication of her books. Cain also writes across several literary

genres. Cain classifies her series as “dark romance without the romance,” “gothic,”

“horror,” “suspense-filled omegaverse” and “mystery suspense thrillers.” Cain’s books are

set in a dystopian society and her stories borrow concepts from “omegaverse” fan fiction.

Cain published a similar fan fiction story under the pseudonym of “Itzy Strange” in 2015.

       12.     The Does refer to anonymous participants and other actors acting in concert

with Blushing and Cain to harm Plaintiff’s reputation and, ultimately, end Plaintiff’s

publications. This does not, in any way, involve online book reviewers merely expressing

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their opinions about Plaintiff’s publications. Upon ascertaining the Does’ identities,

Plaintiff will promptly obtain leave to name those individuals herein.

             E-BOOK INDUSTRY AND “INDIE” WRITERS IN ROMANCE

       13.     Book publishing and distribution for years was dominated by the “Big 5”

publishing houses Macmillan, Hachette, HarperCollins, Penguin Random House Books

and Simon & Schuster. The advent of the Internet and development of small publishing

houses and vanity presses have created new distribution opportunities for independent, or

“indie” authors. Additionally, the availability of self-publishing software and related

platforms gave “indie” authors the means to publish and profit from the delivery of their

own works published in electronic format.

       14.     According to the Romance Writers of America, the estimated annual total

sales value of the romance market in 2013 was approximately $1.08 billion. In 2015, the

romance novel share of the United States fiction market was roughly 34%.2

       15.     The surge of self- and small-press publishing has increased the number of

self-publishing authors in the romance genre. To demonstrate, until methods used to choose

best-sellers were changed by the New York Times, its e-book bestseller list from 2014 to

early 2017 was consistently dominated by “indie” authors, i.e, independent authors who do

not have a “Big Five” publisher and self-publish their books.

       16.     The opportunity created by self-publishing has changed the way romance

readers buy books, their expectations about books, pricing and distribution, and the ways


       2
               Nielsen, BookScan/PubTrack Digital. 2015. Available http://www.rwa.org.

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readers interact with authors. Author visibility, reputation, and credibility are critical to

self-publishing success. An author’s social media presence on Facebook, Instagram,

Twitter, and other social media websites correlates directly with how well their books sell.

       17.     Many authors run Advance Reader Copy (“ARC”) programs. Such programs

allow readers to get a free book in exchange for, hopefully, book reviews that would help

establish the book. Authors also use specialized public relations firms to help promote their

books and obtain reviews. Selling books in the romance genre, especially for “indie”

authors or authors with small publishing houses, has become extremely competitive. This

market is generally self-regulated through industry standards, peer review, and compliance

with the terms of service given by book vendors.

                                  LITERARY GENRE

       18.     Omegaverse (or Alpha/Beta/Omega, A/B/O, or Alpha/Beta/Omega

Dynamics, as its slightly broader category is called) is a collection of related tropes that

tend to correlate in many stories. A/B/O defines stories in which humans are not only

categorized by gender but also by a second dynamic, namely whether they present as alphas

(dominant, physically large, quick-tempered, natural leader) or omegas (submissive,

delicate, calm, peace maker), with an undetermined number of humans being default betas.

       19.     Omegaverse is considered a “perfect storm” of several popular fan fiction

(and romance) tropes,3 including shifters (especially werewolves), soulmates, breeding and



       3
             Kristina Busse. 2013. “Pon Farr, Mpreg, Bonds, and the Rise of the
Omegaverse.” In Anne Jamison, ed., Fic: Why Fanfiction is Taking over the World, 293.
Dallas, TX: BenBella.
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hypersexuality, empathic or telepathic bonds, and biologically deterministic hierarchical

societies. As a term of folksonomy (rather than taxonomy), omegaverse is collectively

created and used by fans, who are at liberty to include or exclude any aspect they like.

       20.     To be recognized as an omegaverse, at least some of a vast number of

potential characteristics need to be present. These include:

                    Imprinting (the mythology within omegaverses often assumes
                     there are true alpha/omega mate pairings, a perfect match of
                     eternal love, and the alpha often imprints on his mate)

                    Scenting (pheromones are excessive for alphas and omegas
                     often displaying their moods and affection)

                    Omega Heat Cycles and Alpha Rut (The biologic necessity to
                     procreate)

                    Mate Bonding (a permanent bond between the partners, often
                     because of imprinting and claiming bite)

                    Claiming Bite (The alpha marks the omega during mating)

                    Knotting (A physiological condition experienced by the alpha
                     during mating to aid in impregnation.)

                    Pregnancy (male and female)

       21.     Omegaverses share commonly used terms and ideas, such as nesting (the

need to prepare a place for heat and conception), heat suppressants (often used to hide one’s

omega status or simply to not have to experience heats), and omega sanctuaries (a place

where omegas may experience their heat without the intrusion of alphas). Not every story

must use all the characteristics. Two stories “tagged” online as A/B/O Dynamics may share

little in common.


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       22.     By most accounts, omegaverse was created as a specific sub-genre in 2010-

2011 and acquired its name in late 2011. A/B/O started in an anonymous fan fiction

community for the TV show Supernatural, and quickly grew popular enough to become

an identifiable genre with its own recognizable tropes. Within two years, the sub-genre had

spread to dozens of other fandoms. For example, on the multi-fandom collection, Archive

of Our Own, by 2013 about 2,000 stories were tagged A/B/O. The sub-genre’s popularity

grew exponentially; and, by 2018 more than 40,000 works had been tagged A/B/O.

       23.     Omegaverse statistics for Archive of Our Own in 2013 show that about 10%

are labeled male/female. Additionally, a June 13, 2011 story is recognized as the first

male/female story that followed clear omegaverse tropes and terminology.4 Archive of Our

Own hosts several longer omegaverse stories about alpha males and omega female written

in 2012,5 including novel-length stories from 2014.6 In 2014, mainstream feminist blogging

site Jezebel features an article explaining omegaverse to its readers.7


       4
               Tebtosca. 2012. “Just Keep Breathing With Me.” Livejournal. Available
https://tebtosca.livejournal.com/20794.html.
       5
               Tristesses. 2012. “All Reason Aside, I Just Can’t Deny.” Archive of Our
Own. https://archiveofourown.org/works/583600. Hotchoco195. 2013; “Strangers and
Soulmates.” Archive of Our Own. Available https://archiveofourown.org/works/605274.
       6
               Rector. 2014. The Encounter Series. Archive of Our Own. Available
https://archiveofourown.org/series/106793. KristinStone. 2015–. Living and Breathing in
Flint Series. Archive of Our Own.
       7
              Mark Shrayber. “‘Knotting’ Is the Weird Fanfic Sex Trend That Cannot Be
Unseen.” Jezebel. June 18. Available at https://jezebel.com/knotting-is-the-weird-fanfic-
sex-trend-that-cannot-be-u-1606931767.


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       24.     The quick dissemination of omegaverse across most popular fan fiction

fandoms helped spread the popularity of omegaverse to male/male commercial romances

(often written by fan fiction authors). Meanwhile, some established male/female

commercial romance also grew in popularity in the 2000s, including that of the shifter

(often werewolves, such as Patricia Briggs’ ALPHA AND OMEGA Series [2007–15]) and that

of the hypermasculine alpha hero, which romance writer Doreen Owens Malek describes

as a “strong, dominant, aggressive male brought to the point of surrender by a woman.”8

                      MYTH OF OMEGA VS. ALPHA’S CLAIM

       25.     Both stories contain similarities that are already determined by their various

genre categories. The similarities found between the two stories lie exclusively within their

use of the A/B/O’s recognized tropes.

       26.     As fantasy novels, both novels are expected to feature elements beyond our

contemporary worlds, though the setting of the two series is quite different. As

omegaverses, the societies of MYTH OF OMEGA and ALPHA’S CLAIM are both structured as

hierarchical cultures, in which omegas are rare and segregated (justified as protection).

This is a common setup for omegaverses, which authors often use to explore intrinsic

gender imbalances.9


       8
             Doreen Owens Malek. 1992. “Mad, Bad, and Dangerous to Know: The Hero
as Challenge.” In Jayne Ann Krentz, ed. Dangerous Men and Adventurous Women:
Romance Writers on the Appeal of the Romance. University of Pennsylvania Press. 74.

       9
              Elliot Aaron Director. 2017. “Something Queer in his Make-Up:
Genderbending, Omegaverses, and Fandom’s Discontents.” Ph.D. Thesis, Bowling Green
State University. Marianne Gunderson. 2017. “Rewriting sex and gender in omegaverse
fanfiction.” M.A. Thesis, University of Oslo, Blindern, Norway.
                                              9
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       27.    The fantasy world in ALPHA’S CLAIM follows the trope of a futuristic

dystopia, in which the society lives in domes on an unspecified Earth after a cataclysmic

event and, in addition, deals with the aftermath of a biological plague. The novel is set in

one of the domes shortly after the successful prisoner revolution spearheaded by the main

alpha protagonist. Omegas are common in this world, but the recent social upheavals have

created chaos ripe for abuse that manifests itself through the exploitation of weaker beings.

       28.    MYTH OF OMEGA is set in an undetermined fantasy setting inhabited by

warring aristocratic factions. Omegas are a myth in this world and haven’t been seen by

the public in more than a century. After having conquered large parts of the known world,

the alpha—the main protagonist—is looking to solve the omega mystery. Magic is known

in the world as “talent,” but is feared and forbidden by the alpha hero.

       29.    While both series employ the enemies-to-lovers trope and, likewise, feature

an omegaverse-type pairing, the ending to ALPHA’S CLAIM is akin to the tragedy of

Shakespeare’s Romeo and Juliet where the lovers commit suicide. In contrast, MYTH OF

OMEGA uses the enemies-to-lovers trope consistent with a more traditional romance and

comparable to the relationship of Ike Graham (Richard Gere) and Maggie Carpenter (Julia

Roberts) in Runaway Bride where the story has a happy ending. More simply, using a

common trope does not make the stories the same, i.e., Sleeping Beauty and Snow White

are different fairytales with separate, distinct plots.

       30.    Consistent with the AU in omegaverse fan fiction, both series write of an

alpha male anti-hero commanding a group of alpha warriors, e.g., ruling over a dystopian



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futurist rebellion of prisoners in ALPHA’S CLAIM and an expansionist quasi-medieval

society in MYTH OF OMEGA.

       31.     In both series, the omega women use suppressants/blocks to hide their

pheromones. In ALPHA’S CLAIM the omega uses chemicals and dresses in smelly clothes

to approach the alpha male to ask him for food for her fellow omegas in hiding after the

rebellion. In MYTH OF OMEGA the omega blocks sensory responses by magic to access the

library that houses information on the disappearance of omegas for the past century. These

precautions fail as they often do in omegaverse stories to get the plot going, and the alpha

protagonists scent the veiled omegas, and realize they are in heat and remove them from

the other alphas. In ALPHA’S CLAIM the hero must fight and kill several competitors

whereas in MYTH OF OMEGA the status of the alpha hero allows him to segregate her from

the rest of the castle.

       32.     In both series, the alphas eventually claim the omegas by force and knot

them; in both stories, omegas fight both the alphas and their own biological desires; in both

stories, the omegas nest and the alphas purr—all consistent with A/B/O tropes. These

tropes often and repeatedly occur in omegaverse stories; yet, the timelines in the stories are

quite different as are the specific encounters. Whereas the biological imperatives attributed

to both alphas and omegas are common for omegaverse fiction, it is the specific

implementations that distinguishes one story from another.

       33.     In ALPHA’S CLAIM, the first, quite violent encounter occurs within the first

chapter, followed by a prolonged imprisonment of the omega during which she nests. The

alpha claims the omega by biting her and establishing the bond forcibly. Thereafter, the

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omega describes repeatedly the psychological pull of that bond. In contrast, MYTH OF

OMEGA follows more traditional romance tropes by letting the central pair spar verbally

for several chapters. Once the omega’s blocks fail and the alpha removes her, she creates

a magical barrier and waits out her heat. Only toward the end of her heat (called “haze” in

the series) do the barriers fail and the alpha claims and knots her. While MYTH OF OMEGA’s

central alpha/omega pairing will eventually bond and procreate, it is a decision that is much

delayed.

       34.    Both alphas are exceptionally possessive of their omegas and hostile to other

alphas, which is a common feature in omegaverse fiction. Both are morally ambiguous as

heroes, and only slowly are revealed as more emotionally appealing characters to readers

and the heroines. In ALPHA’S CLAIM a lot of the alpha’s behavior is explained by his past.

In contrast, MYTH OF OMEGA’s alpha hero is mostly conflicted by the competing drives of

his warrior and his alpha instincts that he does not understand. Unlike ALPHA’S CLAIM,

MYTH OF OMEGA switches points of view every chapter, so that the reader is more aware

of the alpha’s feelings and reasoning. ALPHA’S CLAIM, on the other hand, places the reader

at first fully in the position of the omega female, trying to decipher the alpha’s actions.

       35.    A more important distinction between the two stories is the dynamic between

the central pairing. While both couples start out hostile and eventually give in emotionally

to their biological connection, ALPHA’S CLAIM has a much steadier development toward

that goal with both characters slowly and repeatedly reconsidering their positions. MYTH

OF OMEGA’s    central characters, on the other hand, truly hate one another for the majority

of the novels as their political struggles often have to take precedence over their

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relationship. Likewise, the emotional obstacles function differently in both series with

ALPHA’S CLAIM’s complication of the alpha’s original love who continues to reject the

pair’s potential love.

       36.    Both series feature one central pairing, so it can be expected that there are

several obstacles before the alphas and omegas bond and admit their love for one another.

While most novels require some form of complication to develop a plot, not all romance

fiction finds that complication within the love story itself. The obstacle could be external

(shipwreck, going bankrupt, war, etc.) with the central love pairing between strangers or

friends. However, the enemy-to-lovers trope is one of the more popular in romance fiction,

allowing for an internal narrative thrust in which both need to overcome their resentments

and discover their similarities and love for one another—whether Beatrice & Benedick in

Shakespeare’s Much Ado About Nothing, Elizabeth Bennett & Mr. Darcy in Pride and

Prejudice, Scarlett O’Hara & Rhett Butler in Gone with the Wind.

       37.    Both series clearly share a dynamic in which the central pairing begins with

a contentious if not hostile relationship. Moreover, the dark romance trope already posits

the main male character as a powerful anti-hero or outlaw with a moral compass, which

the heroine will ultimately recognize, and which will lead to her accepting her feelings for

him. ALPHA’S CLAIM and MYTH OF OMEGA share a variety of scenarios that are common

in omegaverse stories. Given that emotional attachment and physical attraction are often

not in sync, many scenes in omegaverse fiction will explore the omega (but sometimes also

the alpha) battling nature versus nurture, mind versus body. Ultimately, however, the



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biological imperative of mating and bonding will win out, a central aspect of the

omegaverse trope.

       38.    Beyond that internal obstacle of trying to come to terms with their destiny,

or pairing, there are external obstacles in the post-revolution society of ALPHA’S CLAIM

and the warring kingdoms of MYTH OF OMEGA. Consistent with the genre, these battles,

injuries, misunderstandings, escapes, and kidnappings ultimately serve to impede the true

goal of the novels—namely, the acceptance by both mates that they are destined to be

together and the eventual acceptance of their pairing.

       39.    Several typical omegaverse plot points occur in both series, but the different

setting and the different pacing makes the two novels distinct reading experiences. More

importantly, the plot with respect to the alpha/omega reconciliation plays out differently.

For example, in ALPHA’S CLAIM the omega fights a lonely battle against the alpha’s army.

The series ends with the alpha in a standoff with the government he had initially

overthrown. MYTH OF OMEGA’s central plot has the alpha fighting against another

kingdom, and then against a long-term omega conspiracy that has deceived everyone to

protect omegas. The series ends happily with the alpha and omega about to become parents

while overseeing their kingdom.

       40.    Cain’s series puts a strong emphasis on non-consensuality and power

exchange, which tilts the overall tone: sexual encounters (often non-consensual) are

extensive, violent, and frequent in ALPHA’S CLAIM. The non-consensual sexual encounters

are not always tempered by the alpha’s regret as in MYTH OF OMEGA, where the point-of-

view shifts to allow us to see the assailant’s immediate regret. The role of the bond is

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different as well: where ALPHA’S CLAIM focuses greatly on the animalistic and physical

nature of the bond (such as the omega feeling the alpha in her mind after he bonds her

against her will), MYTH OF OMEGA uses an interpretation of the soul bond that balances

physicality with emotion and must be bilateral to function properly. There is also less focus

on monogamous exclusivity in ALPHA’S CLAIM, where the alpha male has sex with another

woman in front of his omega. Finally, ALPHA’S CLAIM focuses heavily on its dark genre

aspects: the omega is violently raped resulting in the loss of her child near the end of the

series and a potential re-unification of the alpha and omega, both believed dead, is delayed

beyond the third book.

                              FACTUAL ALLEGATIONS

       41.    On January 18, 2018, Quill published Crave to Conquer, the first book in an

omegaverse series entitled MYTH OF OMEGA. This book chronicles the dark-edged epic

fantasy romance between a female heroine (omega) and a male anti-hero (alpha). On March

20, 2018, Quill published Crave to Capture, the second book in the MYTH OF OMEGA

series. It is a continuation of the first book and follows the alpha and omega’s journey. The

third book, Crave to Claim, was published on May 23, 2018, concluding the series

consistent with the character of a romance where the main couple lives happily ever after.

       42.    Each book in the MYTH OF OMEGA series was registered pursuant to the

Copyright Act of 1976, the Designs and Patents Act of 1988, and subject to the protection

of the Berne Convention for the Protection of Literary and Artistic Works.




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       43.      The MYTH OF OMEGA series was released through Draft2Digital, Amazon,

Barnes and Noble, iTunes Apple, Rakuten-Kobo and Google Play. These online vendors

sell e-books and print books to customers.

       44.      After the release of the first two books, Crave to Conquer and Crave to

Capture, Blushing and Cain directed a “take-down” notice to Draft2Digital and other

vendors on or about April 19, 2018. Blushing and Cain asserted the MYTH OF OMEGA series

infringed on Cain’s copyrights and demanded Draft2Digital remove the MYTH OF OMEGA

books from sale. [See “Take-Down” Notice dated April 19, 2018, Ex. 3].

       45.      The “take-down” notice represented Cain possessed validly registered

copyrights. While Cain applied for a copyright for her first book, it was not done until two

years following the book’s publication. The remaining books in Cain’s series remain

unregistered.

       46.      Around the same time of their initial “take-down” notice, Defendants also

sent additional “take-down” notices to Barnes and Nobles, iTunes Apple, Rakuten-Kobo

and Amazon. [See Additional “Take-Down” Notices, Ex. 4]

       47.      Thereafter, from April 24, 2018, to May 16, 2018, Plaintiff received multiple

reader inquiries stating the MYTH OF OMEGA books were missing from online vendors.

Through these communications, Plaintiff learned of Defendants continuing efforts to

disrupt Plaintiff’s book sales.

       48.      On May 16, 2018, Draft2Digital’s representatives advised Plaintiff that

Draft2Digital and Barnes and Noble had removed the MYTH OF OMEGA series from sale

because of the “take-down” notices.

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         49.   During the week of May 16, 2018, Plaintiff received communications from

the vendors that “take-down” notices were now filed against all three books, including

Crave to Claim which had not been published at the time the “take-down” notices were

filed.

         50.   Further communications with vendors revealed that all three books of the

MYTH OF OMEGA series were removed from sale. [See Vendor Communications, Ex. 5].

iTunes even removed Plaintiff’s entire library of publications solely based on Blushing and

Cain’s false claims.

         51.   Blushing and Cain’s “take-down” notices—while only referencing the first

book, Crave to Conquer—made allegations against the entire MYTH OF OMEGA series

without identifying how book two, Crave to Capture, was infringement and, more

incredibly, asserted infringement by book three, Crave to Claim, falsely claiming it had

been reviewed. Crave to Claim was not even in publication at the time of Blushing and

Cain’s notices.

         52.   Blushing and Cain filed numerous “take-down” notices—at a minimum

twelve (12) but up to fifteen (15) or more—in their effort to cause leading vendors to

remove the entire MYTH OF OMEGA series from sale.

         53.   Upon learning of the “take-down” notices, Plaintiff promptly delivered

counter-notices under Section 512(g) of the Copyright Act (“Counter-Notices”). [See

Counter-Notices dated May 14 & 16, 2018, Ex. 6].

         54.   The Counter-Notices prompted vendors to restore all of Plaintiff’s

publications; however, the restoration process in some instances took months.

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       55.    Plaintiff showed in the Counter-Notices that Blushing and Cain made

material, false representations. [See Draft2Digital Correspondence, Ex. 7].

       56.    Blushing and Cain’s “take-down” notices violated the Copyright Act,

damaged Plaintiff’s reputation and resulted in financial losses, including, but not limited

to, pre-release and ordinary book sales in the United States and internationally.

       57.    Following Blushing and Cain’s notices to Draft2Digital and other vendors,

Plaintiff has been subjected to online harassment and defamation, including false and

malicious claims of plagiarism. The forums in which the harassment and defamation

occurred are both public and private online forums, which are all well-known within the

dark romance fan communities.

       58.    Blushing and Cain—consistent with their long-standing practices of

manipulating commentary on their own publications in violation of industry guidelines—

used the same technique to solicit negative reviews of Plaintiff’s publications. [Compare

Cain Review Manipulation, Ex. 8 with Cain’s Online Posts targeting Plaintiff’s

Publications, Ex. 9; see also Amazon Guidelines, Ex. 10].

       59.    Those participating and associated with Blushing and Cain also made

baseless claims that the MYTH OF OMEGA series copied Cain’s writings and shamed

Plaintiff and its author with accusations of plagiarism. [See Disparaging Posts, Ex. 11].

Such commentary had the intended effect of harming Plaintiff’s reputation as a publisher,

driving away potential readers interested in its publications, and causing Plaintiff financial

loss and hardship.



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      60.    Consistent with these efforts and as part of concerted efforts to monopolize

the market, Cain has often used social media to manipulate and change ratings on her own

books in derogation of vendor guidelines (see example below). Such guidelines direct that

consumers, authors, and/or publishers “should not offer any other incentive for a Customer

Review” as it would be deemed improper compensation. Further, vendor guidelines

provide that authors should not “attempt to drown out other people’s opinions”. [Compare

Amazon Guidelines, Ex. 8, with Review Manipulation Posts, Ex. 12].




      61.    Cain also prompts the manipulation of reviews by encouraging readers to

down vote other readers and drown those reader’s opinions (see example below). All of

this in derogation of vendor guidelines and demonstrates Cain’s efforts to manipulate and

monopolize. Blushing and Cain’s practices subverts practices designed to ensure “honest

reviews.” This pattern and practice is deliberate and designed to harm competitors.




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       62.     After attempts to remove Plaintiff’s works failed after the Counter-Notices

were filed and the books were reinstated, Cain continued a campaign to defame Plaintiff’s

publications with accusations of plagarism.

       63.     In further attempts to harm Plaintiff, Cain claims on social media that anyone

who writes in the male/female omegaverse is copying her and asserts ownership of the

genre stating “she was the one who created the male/female genre” (see example below).

Cain makes these untenable claims despite another author having already published a book,

which was sold on Amazon in 2014, that is recognized as one of the first, published

omegaverse fan fictions.10 Moreover, there are thousands of stories in omegaverse fan

fictions that depict male/female pairings. [See Kristina Busse, Ph. D. Analysis, Ex. 13].




       10
        Nora Ash. Taken by Darkness. 2014. Available https://www.goodreads.com/
book/show/22828176-taken-by-darkness?from_search=true.
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       64.    Blushing published another omegaverse series by an author named Carolyn

Faulkner called the ALPHA’S WOMAN Series (The Alpha’s Woman (July 12, 2017), Kosh’s

Omega (Alpha’s Woman Book 2) (Nov. 1, 2017), Red’s Mate (Alpha’s Woman Book

3) (July 4, 2018)). The same allegations of alphas being big, omegas being rare, omegas

fighting their heat, dystopian society, omegas hiding from the alphas and trying to escape

are all in these later published books, even though they accuse Plaintiff of infringement.

       65.    Throughout the filing of the “take-down” notices and counter-notices,

Blushing continued to harass Plaintiff and its author through emails to intimidate,

embarrass, and to cause harm. [See Blushing Emails, Ex. 14].




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                            COUNT I – MISUSE OF COPYRIGHT
                               (Against Blushing and Cain)

       Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.

       66.    The MYTH OF OMEGA series is an original work of authorship, not

infringement. [See Cease and Desist Letter, Ex. 15].

       67.    The MYTH OF OMEGA series was independently created and employed a

degree of creativity consistent with other “fan fictions” written in omegaverse fiction.

       68.    The MYTH OF OMEGA series is a dark-edged romance that draws upon

established omegaverse tropes and immerses the reader in a stirring tale of a yearning erotic

desire amidst a heroine’s epic journey. However, Cain’s dark erotic suspense thriller, while

also drawing upon omegaverse tropes, is a story of brutal rape, murder, and death—a

horrific tragedy of loss.

       69.    And, though there is no single, accepted set of rules for stories written in the

omegaverse genre, such stories usually include strong themes of dominance, submission,

and possessiveness. Most stories focus on alphas bonding and mating with omegas, and

there is a strong use of the “soul mate” trope as well as the concept of sex (or mating) as a

biological imperative. As demonstrated above, some stories build alternate societal and

cultural traditions, while others insert omegaverse conventions into an otherwise “real

world” or canonical story.

       70.    The MYTH OF OMEGA and ALPHA’S CLAIM both assimilate dominant

omegaverse tropes.


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          71.   Blushing and Cain’s motivation, however, in demanding the removal of the

MYTH OF OMEGA series was not to protect any copyright, but instead was intended to stifle

competition.

          72.   Blushing and Cain have engaged in similar acts with other authors writing

omegaverse fan fiction. [See Cain’s Dragon Maiden Post, Ex. 16].

          73.   In this instance, Blushing and Cain used false copyright claims in their “take-

down” notice because the “safe harbor” provisions of the Digital Millennium Copyright

Act, 17 U.S.C. § 512, provides a mechanism by which it could demand expeditious

takedown of materials alleged to infringe copyright.

          74.   Blushing and Cain never intended to pursue litigation in good faith because

the only similarities between the MYTH OF OMEGA and Cain’s ALPHA’S CLAIM were the

persistent and dominant tropes found in all omegaverse fan fiction.

          75.   Cain’s assertion of ownership with respect to the male/female omegaverse

sub-genre and false claim of authoring the first male/female story arc are unfounded,

claims. Such deceit can only be maintained by willfully and purposefully ignoring

catalogued omegaverse fan fiction publications beginning in 2010 that predate Cain’s 2016

series.

                COUNT II – MISREPRESENTATION, 17 U.S.C. § 512(f)
                            (Against Blushing and Cain)

          Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.




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       76.    Blushing and Cain knowingly and materially misrepresented to

Draft2Digital, Amazon, Barnes and Noble, iTunes-Apple and Rakuten-Kobo and other

parties that the MYTH OF OMEGA series infringes upon Cain’s copyright while falsely

claiming review of all three books of the series.

       77.    Blushing and Cain knowingly and inaccurately represented the standard to

vendors that “ideas” “plots” and “arcs” are copyrightable.

       78.    Out of the supposed similarities, Blushing and Cain misrepresented eight of

them as copyrightable, without noting that they are tropes of omegaverse, in no way novel

or unique to Cain’s work, and thus not subject to copyright protection. In particular,

Defendants misleadingly alleged that they hold copyright on the concepts of (a) alphas

being big, (b) suppressants being used by omegas to hide their dynamics, (c) protagonist

couple be an alpha male and an omega female, (d) omegas are rare and valued as mates to

provide children, (e) that in a dark romance the main character is an anti-hero, (f) that the

omega fights and wants to escape the relationship, (g) that the omega is unhappy, and (h)

that biology predetermines the finding of mates (most shifter romance works include this).

These are concepts that cannot be copyrighted.

       79.    Ten of the allegations of why Cain’s work was copyrightable were presented

in a misleading way that ignores the context, logic, and circumstances of the books.

       80.    Twelve of the allegations were outright false statements made about the story

of Crave to Conquer to make it seem like it had been copied from Cain. These allegations

are not only incorrect, but purposefully inaccurate. And, much of the information provided

by Blushing and Cain about its own work was presented incorrectly and/or out of context

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to make it similar to Crave to Conquer for the purposes of the “take-down” notices. A side-

by-side comparison demonstrates that Blushing and Cain liberally misquote their own

work.

        81.   Blushing and Cain represented that they had conducted an independent

review of a book that had not been published (established law required that for copyright

violation to occur there must be “text” or “work” that infringes the copyrighted work).

Blushing and Cain still represented that in Crave to Claim where the two main characters

mate, have an infant daughter, rule their world together, and live happily ever after violated

the copyrighted text of Cain’s third book wherein the heroine gets raped as orchestrated by

the ex-lover of the anti-hero (with who the anti-hero had cheated with), she loses her baby

and is left for dead, the anti-hero is presumed to be dead, and at the end of the book it is

unclear whether or not both main characters are alive.

        82.   Blushing and Cain made all of these allegations under penalty of perjury and

represented they had satisfied the requirements under the Copyright Act and that they were

filing “take-down” notices in good faith.

        83.   Blushing and Cain’s actions have caused Plaintiff injuries as set forth above

and they are entitled to all relief afforded by law.

                              COUNT III – NEGLIGENCE
                              (Against Blushing and Cain)

        Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.




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       84.    Blushing and Cain had a duty to Plaintiff to exercise good faith and due

diligence in evaluating and filing any “take-down” notice with respect to the MYTH OF

OMEGA series.

       85.    Blushing and Cain breached its duty to Plaintiff. And, in one egregious

instance, filed “take-down” notices—under penalty of perjury—in which they represented

they had reviewed the third book in the MYTH OF OMEGA series that was neither published

or available to anyone.

       86.    Because of Cain’s and Blushing’s breach, Plaintiff suffered financial losses

by losing pre-order and pre-sales plus harm to their reputation.

                 COUNT IV - TORTIOUS INTERFERENCE WITH
                   PROSPECTIVE ECONOMIC ADVANTAGE
                          (Against Blushing and Cain)

       Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.

       87.    Plaintiff had prospective business relations and expectancies involving the

sale of the MYTH OF OMEGA series as distributed through the vendors.

       88.    Blushing and Cain had knowledge of Plaintiff’s prospective business

relations and expectancies.

       89.    Blushing and Cain intentionally interfered with Plaintiff’s prospective

business relations and expectancies causing a breach and termination of those relationships

and expectancies.

       90.    Blushing and Cain’s interference caused Plaintiff to suffer economic losses

and other damages as set forth herein.

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       91.      Plaintiff is entitled to all relief afforded by law resulting from Blushing and

Cain’s wrongful and intentional interference with their prospective business relations and

expectancies.

         COUNT V – MALICIOUS INTERFERENCE WITH CONTRACT
                      OR BUSINESS RELATIONS
                       (Against Blushing and Cain)

       Plaintiff adopts and re-alleged each and every paragraph and title above as if set

forth verbatim herein.

       92.      Plaintiff had existing business relations involving the sale of the MYTH OF

OMEGA series as distributed through the vendors.

       93.      Blushing and Cain intentionally interfered with Plaintiff’s existing business

relations causing a breach and termination of those relationships.

       94.      Blushing and Cain’s interference was malicious, wrongful, and neither

justified, privileged, nor excusable.

       95.      Blushing and Cain’s interference proximately caused Plaintiff to suffer

economic losses and other damages.

       96.      Plaintiff is entitled to all relief afforded by law resulting from Blushing and

Cain’s malicious and wrongful interference with Plaintiff’s existing business relations.




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                               COUNT VI – DEFAMATION
                             (Against Blushing, Cain, and Does)

       Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.

       97.     Blushing, Cain, and the Does made false and defamatory statements

concerning Plaintiff and its publications.

       98.     Blushing, Cain, and the Does anonymously conspired and colluded to

publish and communicate these false and defamatory statements concerning Plaintiff and

its publications to third parties without privilege or authorization, including accusations

Plaintiff’s author is engaging in harassment, and are presently maintaining and continuing

their tortious activities.

       99.     Blushing, Cain, and the Does anonymously created and/or contributed to

multiple online forums that published and communicated these false and defamatory

statements concerning Plaintiff and its publications. Such forums continue in operation.

       100.    Blushing, Cain, and the Does published the false and defamatory statements

concerning Plaintiff with actual malice, with knowledge of the statements’ falsity, and/or

with reckless and negligent disregard for the falsity of the statements.

                               COUNT VII – FALSE LIGHT
                             (Against Cain, Blushing, and Does)

       Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.

       101.    Blushing, Cain, and the Does broadcast to the public in general and/or to a

large number of people information that would be highly objectionable to a reasonable

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person by attributing to Plaintiff and its publications false characteristics, conduct, and/or

beliefs that place Plaintiff and its publications in a highly offensive and false light and

position.

       102.    Blushing, Cain, and the Does placed Plaintiff and its publications in a false

light even though they knew of and/or acted in reckless disregard of the falsity of the

publicized information.

       103.    Plaintiff has incurred damages and other harm as a result of Blushing, Cain,

and the Does’s tortious conduct.

                          COUNT VIII – CIVIL CONSPIRACY
                           (Against Cain, Blushing, and Does)

       Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.

       104.    Blushing, Cain, and the Does form a confederation of two or more people or

entities.

       105.    On information and belief, Blushing, Cain, and the Does together facilitated

and furthered, and continue to facilitate and further, the misuse of copyright to stifle

competition and harm Plaintiff financially.

       106.    On information and belief, Blushing, Cain, and the Does together facilitated

and furthered, and continue to facilitate and further, the posting of defamatory statements

online about Plaintiff and have and continue to cause Plaintiff to be cast in a false light to

stifle competition and harm Plaintiff financially.




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        107.    Blushing, Cain, and the Does’s misconduct and unlawful activities caused,

and continue to cause, Plaintiff actual harm for which it is entitled to recover damages.

                      COUNT IX – DECLARATORY JUDGMENT

                            (Against Blushing, Cain, and Does)

        Plaintiff adopts and re-alleges each and every paragraph and title above as if set

forth verbatim herein.

        108.    A real and actual controversy exists between Plaintiff and Blushing and Cain

regarding whether the MYTH OF OMEGA series infringes upon any copyrights claimed by

Cain.

        109.    Plaintiff seeks a declaratory judgment pursuant to 28 U.S.C. §§ 2201-2202

and Rule 57 of the Federal Rules of Civil Procedure to determine and adjudicate questions

of actual controversy between parties.

        110.    Plaintiff contends as it relates to Blushing and Cain, consistent with the

Copyright Act, judicial decisions construing such laws, doctrines, and provisions,

publication of the MYTH OF OMEGA series is lawful.

        111.    Blushing and Cain contend the contrary of the above-stated proposition.

        112.    Plaintiff request that the court determine and adjudge that each and every of

the above-stated propositions states the law applicable to the facts involved in this action.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Quill Ink Books Limited, prays for the following relief:

        1.      A declaratory judgment that publication of the MYTH OF OMEGA series is

lawful;

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       2.      Injunctive relief restraining Blushing and Cain, their agents, servants,

employees, successors and assigns, and all others in concert and privity with them, from

bringing any lawsuit or threat against Plaintiff, its author, or any other person or entity for

copyright infringement relating to publication of the MYTH OF OMEGA series;

       3.      Damages from copyright misuse, misrepresentation, negligence, tortious

interference with existing and prospective business relations, defamation, false light, and

civil conspiracy;

       4.      Punitive damages as allowable by law;

       5.      Attorney’s fees pursuant to 17 U.S.C. § 512(f), other portions of the

COPYRIGHT ACT, or as otherwise allowed by law;

       6.      Plaintiff’s recoverable costs; and

       7.      Any further relief as the Court deems just and equitable.

                                               Respectfully submitted,

                                               s/ Gideon A. Lincecum
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                                               QUILL INK BOOKS LIMITED




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